
On the return of the Writ of Error, the following judgment was rendered:
“ It seems to the Court here, that the said judgment is erroneous in this, that it does not appear from the said Indictment, of what number of Officers the said Court of Enquiry consisted, or what was the respective rank of the said Officers, so as to enable the said Superior Court to discern, whether the said Court of Enquiry was, or was not constituted according to Law: And in this, that it is not distinctly and directly set forth and averred, what was the enquiry, then and there making by the said Court, so as to enable the said Superior Court to know whether the matter deposed by the said Defendant, was or was not material, or pertinent to the said enquiry. And this Court proceeding to give such judgment as the said Superior Court ought to have rendered, it is considered by the Court that the judgment aforesaid be reversed and annulled, and that the Defendant go thereof without day.”
On the motion of the defendant, leave was given him to shew cause, on the first day of the next Term, why a Writ of Restitution should be awarded in this case, of the fine and costs, &amp;c.
